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United States Bankruptcy Court
Middle District of Florida

tn re Electric Maintenance and Construction, tnc. Case No.

 

 

Debtor(s) Chapter 1 1

 

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

l. Pursuant to ll U.S.C. § 329(3) and Bankruptcy Rule 2016(b), l certify that l am the attorney for the above-named debtor and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection With the bankruptcy case is as follows:

 

 

For legal services, l have agreed to accept $ See Exhibif A
Prior to the filing of this statement l have received $ 99,000.00
Balance Due $ See Exhibit A

 

2. The source of the compensation paid to me Was:

m Debtor Other (specify): Edward Roseman
3. The source of compensation to be paid to me is:
§ Debtor l:l Other (specit`y):
4, § l have not agreed to share the above-disclosed compensation With any other person unless they are members and associates of my law tirm.

l:\ l have agreed to share the above-disclosed compensation with a person or persons Who are not members or associates of my law firm. A
copy of the agreement, together With a list of the names of the people sharing in the compensation is attached

5. ln return for the above-disclosed fee, l have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining whether to tile a petition in bankruptcy;
Preparation and filing of any petition, schedules, statement of affairs and plan Which may be required;
Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
[Other provisions as needed]

See Exhibit "A"

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6. By agreement with the debtor(s), the above~disclosed fee does not include the following service:

 

CERTIFICATION

l certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding

Dated: 0ctaber 3, 2011 lsl Richard J. Mc\ntyre
Richard J. Mclntyre 0962708
Mclntyre, Panzarella, Thanasides et al
6943 East Fowler Avenue
Tampa Fl 33617
239-288-6580 Fax: 239-288-6521
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EXHIBIT A TO DISCLOSURE OF COMPENSATION

Electric Maintenance and Construction, Inc., (the “Debtor”) has agreed to
retain the law firm of Mclntyre, Panzarella, Thanasides, Hoffman, Bringgold & Todd, P.L.
(“MPT Firm”), for the purposes of filing a petition for relief under Chapter ll of the United
States Bankruptcy Code, Schedules, Statement of Financial Affairs, Plan of Reorganization, and
providing the legal services necessary to confirm the Plan of Reorganization (the “Case”).

MPT Firm will also be responsible for objecting to and litigating claims against the
Estate, and preparing and litigating all motions necessary to bring the case to confirmation

ln exchange for the above-referenced services, the Debtor has agreed to pay MPT Firm a
non-refundable retainer in the amount of $99,000.()0. MPT Firrn shall keep detailed records as to
the fees and costs incurred in connection With this case and such fees and costs shall be billed
against the retainer. After the filing of this Case, MPT Firrn shall seek court approval of their
fees and costs on a monthly basis.

